  Case 4:21-cr-00005-O
                  UNITEDDocument
                         STATES 93  Filed 05/02/22
                                 DISTRICT          PageTHE
                                            COURT FOR   1 of 2 PageID 1103
                       NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

UNITED STATES OF AMERICA                       )
                                               )
 Plaintiff                                     )
                                               )
v.                                             )                 Case No. 4:21-cr-005-O-1
                                               )
THE BOEING COMPANY,                            )
                                               )
   Defendant                                   )
______________________________________________ )


                                  ENTRY OF APPEARANCE

       Pablo Rojas of Podhurst Orseck, P.A., pursuant to the Local Rules of the United States

District Court for the Northern District of Texas, hereby enters his appearance on behalf of

Movants Naoise Connolly Ryan, Emily Chelangat Babu and Joshua Mwazo Babu, Catherine

Berthet, Huguette Debets, Luca Dieci, Bayihe Demissie, Sri Hartati, Zipporah Kuria, Javier de

Luis, Nadia Milleron and Michael Stumo, Chris Moore, Paul Njoroge, Yuke Meiske Pelealu, John

Karanja Quindos, and Guy Daud Iskandar Zen S. (“victims’ families”) and requests that all

pleadings, motions, notices, and documents filed or served in this case be sent to him. Pablo Rojas

certifies that he is admitted to practice in this matter pursuant to the Court’s April 28, 2022 Order

granting his Application for Admission Pro Hac Vice (Doc. 84) and is registered in this Court’s

Electronic Case Filing System.
  Case 4:21-cr-00005-O Document 93 Filed 05/02/22               Page 2 of 2 PageID 1104




Dated: May 2, 2022                          Respectfully submitted,

                                            /s/ Pablo Rojas

                                            Pablo Rojas (Florida Bar No. 1022427)
                                            Admitted pro hac vice
                                            Podhurst Orseck, P.A.
                                            One S.E. 3rd Avenue, Suite 2300
                                            Miami, FL 33131
                                            (305) 358-2800/Fax (305) 358-2382
                                            projas@podhurst.com

                                            Warren T. Burns (Texas Bar No. 24053119)
                                            Darren Nicholson (Texas Bar No. 24032789)
                                            Burns Charest, LLP
                                            900 Jackson Street
                                            Suite 500
                                            Dallas, TX 75202
                                            469-904-4550
                                            wburns@burnscharest.com
                                            dnicholson@burnscharest.com

                                            ATTORNEYS FOR VICTIMS’ FAMILIES




                                CERTIFICATE OF SERVICE

       I certify that on May 2, 2022, the foregoing document was served on the parties to the

proceedings via the Court CM/ECF filing system.


                                            /s/ Pablo Rojas
                                            Pablo Rojas (Florida Bar No. 1022427)
